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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
    - - - - - - ------------------------
UNITED STATES OF AMERICA,
                                Plaintiff,
                                                           18-Cr-289 (SHS)
              V.

RYAN RAINFORD,                                             MEMORANDUM ORDER
                                Defendant.
                   - -- --------------------------------

SIDNEY H. STEIN, U.S. District Judge.
    Defendant Ryan Rainford moves for a reduction in his sentence under the
compassionate-release statute, 18 U.S.C. § 3582(c)(l)(A). (Def.'s Mot., ECF No. 321.)
Because Rainford has failed to show "extraordinary and compelling reasons"
warranting a reduction, 18 U.S.C. § 3582(c)(l)(A)(i), and because a reduction would be
inconsistent with the factors set forth in 18 U.S.C. § 3553(a), defendant's motion is
denied.
    On May 28, 2019, Rainford was convicted at a jury trial of conspiracy to commit
mail and wire fraud pursuant to 18 U.S.C. § 1349. From 2012 to 2018, Rainford acted as a
recruiter, and later a manager, in massive trip-and-fall fraud schemes operating in New
York City. (See Sentencing Tr. at 19:12, ECF No. 19; Presentence Investigation Report
(PSR) 1117.) For years, defendant recruited indigent, often homeless individuals to stage
accidents outside business locations and to have unnecessary surgeries. The surgeries
were not only unneeded, but they would at times result in long-term physical harm,
solely so that the defendants could profit off fraudulent lawsuits filed on behalf of the
victims. (PSR 1121.) In January 2020, this Court sentenced Rainford to 68 months'
incarceration and three years' supervised release, a downward variance of over eight
years from his Sentencing Guidelines range of 168 to 210 months. (See Sentencing Tr. at
19:12-14.)
    Rainford began serving his sentence at FCI Fort Dix in New Jersey on February 21,
2020. He has served approximately eight months - barely 10% - of his sentence, and
his projected release date is January 28, 2025. On October 14, defendant filed a prose
motion for compassionate release with this Court. (Def.' s Mot. at 1.)
     As a threshold matter, it is unclear whether Rainford has exhausted his
administrative remedies with the Bureau of Prisons as required by 18 U.S.C. §
3582(c)(l)(A). Rainford's prose motion represents that he concurrently sent a petition
for release to FCI Fort Dix Warden David Ortiz (Def.'s Mot. at 3), but he has not
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represented that this petition was rejected or that he otherwise exhausted his
administrative rights.
     Though this Court is not authorized to order a sentence reduction without
administrative exhaustion, it finds in any event that Rainford is ineligible for
compassionate release on the merits. The compassionate-release statute, 18 U.S.C.
§ 3582(c)(l)(A), carves out one of the "few narrow exceptions" to the "rule of finality"
mandating that a district court not alter a sentence once imposed. Freeman v. United
States, 564 U.S. 522 (2011). In order to qualify for this "narrow exception," a defendant
must show both that "extraordinary and compelling reasons exist" warranting a
reduction, and that a reduction would not be inconsistent with the application of the 18
U.S.C. § 3553(a) sentencing factors. Rainford meets neither criterion.
    First, Rainford fails to allege any particularized characteristics, beyond the general
dangers of COVID-19, that comprise "extraordinary and compelling reasons."
"Numerous courts," including this Court, "have found that the risks posed by the
pandemic alone do not constitute extraordinary and compelling reasons for release."
United States v. Nwankwo, No. 12-Cr-31 (VM), 2020 WL 2490044, at *1 (S.D.N.Y. May 14,
2020); see also United States v. Davis, No. 12-Cr-712 (SHS), 2020 WL 4573029, at *1
(S.D.N.Y. Aug. 7, 2020) . Though advanced age, serious health conditions, or other
individual risk factors may contribute to such a showing, Rainford is merely 31 years
old and demonstrates no such "extraordinary and compelling" individual factors.
    Additionally, the section 3553(a) factors "weigh heavily against a sentence
reduction here." Davis, 2020 WL 3790562, at *4. The nature and circumstances of
Rainford' s offense are serious. As described above, Rainford not only defrauded
numerous business owners and insurance companies through litigations seeking
damages for the staged trip-and-fall accidents; he did so by preying on the needy,
forcing indigent "patients" to undergo medically unnecessary procedures for his own
personal profit and that of his co-defendants. These surgeries, which could even include
spinal fusions, carried substantial medical risks, and at least one patient almost died
during her needless surgery. (See PSR <]I 53.)
    Moreover, a sentence reduction would fail to "reflect the seriousness of the
offense," provide "just punishment," or "afford adequate deterrence." 18 U.S.C.
3553(a)(2)(A)-(B). Rainford has served just eight months of his 68-month sentence, a
sentence that already represented a "substantial variance from the guideline range of
168 to 210" months (Sentencing Tr. at 19:13-14.) Allowing Rainford compassionate
release after less than a year would hardly provide just punishment, nor reflect the
severity of the harm defendant and his co-defendants inflicted on both business owners
and insurance companies, as well as the weak and vulnerable "patients."



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     Accordingly, IT IS HEREBY ORDERED that Rainford' s motion for compassionate
release is denied on the grounds that no extraordinary and compelling reasons exist for
his release and the section§ 3553(a) factors weigh against a sentence reduction. The
Clerk of Court shall mail a copy of this Order to Mr. Ryan Rainford [85592-054], FCI
Fort Dix, Federal Correctional Institution, P.O. Box 2000, Joint Base MDL, NJ 08640, and
note the mailing on ECF.
Dated: New York, New York
       October 27, 2020

                                         SO ORDERED:




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